              Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 1 of 16



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                            UNITED STATES DISTRICT COURT
 9                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
10

11   In Re:                                  Case No.:
12   DMCA SUBPOENA TO CLOUDFLARE,            DECLARATION IN SUPPORT OF
     INC.,                                   REQUEST FOR DMCA SUBPOENA TO
13
                                             CLOUDFLARE, INC.
14               Service Provider.

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     DECLARATION IN SUPPORT OF                             FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                              1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 1                                     Tacoma, WA 98402
                                                         (253) 383-4500 - (253) 383-4501 (fax)
                  Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 2 of 16



 1           I, ANIS BABA, hereby declare as follows:

 2           1.      I am the Director of MG Premi m L d (hereinaf er, MG ) and am a hori ed o

 3   act on its behalf. I have personal knowledge of the facts contained herein and, if called upon to

 4   do so, could and would testify competently thereto.

 5           2.      I submit this declaration in support of MG s req es for iss ance of a S bpoena

 6   b    he Clerk of his Co r , p rs an o he Digi al Millenni m Cop righ Ac ( DMCA ), 17

 7   U.S.C. § 512(h) to Clo dflare, Inc. ( Clo dflare ), rela ing o he pos ing of MG s copyrighted

 8   material on the domain, porndead.com, webpages hosted by Cloudflare.

 9           3.      I have personal knowledge of the copyrights owned by MG and the ongoing

10   infringements of those copyrights that occur on the internet. I also have personal knowledge of

11   the countless instances that MG s cop righ ed orks ha e been pos ed i ho              MG authorization

12   to porndead.com.

13           4.      On July 13, 2020, authorized agent for MG Jason Tucker issued and served a

14   cop righ infringemen no ifica ion on Clo dflare s DMCA Agen                     relating to posts on

15   porndead.com. Pursuant to Section 512(c)(3)(A), the notification was properly signed by MG s

16   agent, identified the copyrighted material being infringed, set forth a listing of the 400 URLs

17   containing posts of infringing material, confirmed that such use of MG s copyrighted works was

18   not authorized by MG, and gave contact information such that the DMCA Agent could reach him

19   with questions. A true and correct copy of the July 13, 2020 notifications are attached as Exhibit

20   A.

21           4.      The purpose of the DMCA Subpoena is to obtain information sufficient to

22   identify alleged infringers who, without authorization from MG, posted material to the webpage

23   porndead.com, which infringed copyrights held by MG. The information received as a result of

24   the Subpoena will only be used by MG to protect its rights under Title 17 of the United States

25   Code.

26

     DECLARATION IN SUPPORT OF                                       FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                                        1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 2                                               Tacoma, WA 98402
                                                                   (253) 383-4500 - (253) 383-4501 (fax)
                Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 3 of 16



 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          DATED this        14      day of July, 2020, at Nicosia, Cyprus.

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                                            ANIS BABA
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     DECLARATION IN SUPPORT OF                                         FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                                          1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 3                                                   Tacoma, WA 98402
                                                                     (253) 383-4500 - (253) 383-4501 (fax)
 Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 4 of 16




                     Exhibit A
Copies of Notifications Issued Pursuant to
         17 U.S.C. § 512(c)(3) to
      Registered DMCA Agent for
   Service Provider Cloudflare, Inc.
                   Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 5 of 16


Jason Tucker

From:                           Jason Tucker
Sent:                           Monday, July 13, 2020 12:53 PM
To:                             abuse@cloudflare.com
Subject:                        DMCA Takedown Notice for Copyright Infringement – MG/Brazzers – 200 Links



via Email:

RE: DMCA Takedown Notice for Copyright Infringement – MG/Brazzers – 200 Links

Dear Copyright Agent,

I, Jason Tucker, hereby declare under penalty of perjury under the laws of the United States of America that to
the best of my knowledge and belief the following is true and correct and I have the authority to act on behalf of
the owner of the copyrights involved.

I have a good faith belief that the use of materials identified below is not authorized by the Owner and therefore
infringes on its rights pursuant to Copyright Law. Pursuant to this notification, you should immediately take
steps to locate and remove and/or disable access to the content that is on your system.

If you are a service provider, you may otherwise be liable for copyright infringement if, upon obtaining
knowledge or awareness of infringing material being stored upon your network, you do not act expeditiously to
remove, or disable access to, the material.

My contact information is as follows:
MG Premium Ltd.
c/o: Battleship Stance, Inc. - Jason Tucker
Address:
Email:

Location of original works owned by and registered to MG Premium Ltd: http://www.brazzers.com

This correspondence and all of its contents is without prejudice to MG Premium Ltd. or any of their affiliated
company's rights and remedies, all of which are expressly reserved.

Sincerely,

s/Jason Tucker

Jason Tucker
Agent for MG Premium Ltd.; MG Limited Cyprus; MG Content DP Ltd; MG Content RK Limited; MG
Freesites Ltd


Links to Infringing Material that we request be REMOVED:
https://porndead.com/movie/1135547892/x
https://porndead.com/movie/1252489062/x
https://porndead.com/movie/1630613845/x
                                                        1
                Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 6 of 16
https://porndead.com/movie/1798937388/x
https://porndead.com/movie/1813110259/x
https://porndead.com/movie/1860144401/x
https://porndead.com/movie/1874933654/x
https://porndead.com/movie/226518554/x
https://porndead.com/movie/2b34f7e60bff23887c4e/x
https://porndead.com/movie/441371706/x
https://porndead.com/movie/473474759/x
https://porndead.com/movie/667351302/x
https://porndead.com/movie/90c5c2806948edf58db7/x
https://porndead.com/movie/940245560/x
https://porndead.com/movie/960542483/x
https://porndead.com/movie/ph55afaf5501e9b/x
https://porndead.com/movie/ph55beac5e7f083/x
https://porndead.com/movie/ph561971aea5c0e/x
https://porndead.com/movie/ph56228848e975a/x
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https://porndead.com/movie/ph5666c226b8ceb/x
https://porndead.com/movie/ph56eaebaf38516/x
https://porndead.com/movie/ph570e9749663da/x
https://porndead.com/movie/ph57128dbbc34a6/x
https://porndead.com/movie/ph57ffaade0a2aa/x
https://porndead.com/movie/ph581395075ff32/x
https://porndead.com/movie/ph5841996414d65/x
https://porndead.com/movie/ph584eee20dd022/x
https://porndead.com/movie/ph5854bd848faa5/x
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https://porndead.com/movie/ph58a5d9f4d3151/x
https://porndead.com/movie/ph58c6f5864c093/x
https://porndead.com/movie/ph58c6f5a2803e0/x
https://porndead.com/movie/ph58e64f2d0e51b/x
https://porndead.com/movie/ph5909ebde19d04/x
https://porndead.com/movie/ph5915af7dee272/x
https://porndead.com/movie/ph59555bcebb185/x
https://porndead.com/movie/ph5961998240bbb/x
https://porndead.com/movie/ph5968d98ba0c02/x
https://porndead.com/movie/ph59721b429ef82/x
https://porndead.com/movie/ph5996e9981e833/x
https://porndead.com/movie/ph59b06a571d690/x
https://porndead.com/movie/ph5a08c0e580569/x
https://porndead.com/movie/ph5a1836256004c/x
https://porndead.com/movie/ph5a5f5e9fd9ea2/x
https://porndead.com/movie/ph5a7484a8b28a2/x
https://porndead.com/movie/ph5a89d71aaecad/x
https://porndead.com/movie/ph5a8a0fd14530d/x
https://porndead.com/movie/ph5ac00258c6e8b/x
https://porndead.com/movie/ph5b0b507a8f194/x
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https://porndead.com/movie/ph5b431416a57a4/x
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                Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 7 of 16
https://porndead.com/movie/ph5b60a1e31d077/x
https://porndead.com/movie/ph5b683177b57de/x
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https://porndead.com/movie/ph5b843d57180c5/x
https://porndead.com/movie/ph5b9931872edde/x
https://porndead.com/movie/ph5baaac939643e/x
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https://porndead.com/movie/ph5bd7537e7be75/x
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https://porndead.com/movie/ph5be1ec1db4877/x
https://porndead.com/movie/ph5bea058f7e95b/x
https://porndead.com/movie/ph5bea058fb164c/x
https://porndead.com/movie/ph5c0703e1811d9/x
https://porndead.com/movie/ph5c07e008716a7/x
https://porndead.com/movie/ph5c0d3d7fc50ea/x
https://porndead.com/movie/ph5c1e094930dcf/x
https://porndead.com/movie/ph5c2ff56a48911/x
https://porndead.com/movie/ph5c38be274b9c5/x
https://porndead.com/movie/ph5c3b3365df920/x
https://porndead.com/movie/ph5c3c695141866/x
https://porndead.com/movie/ph5c3e493c1a20c/x
https://porndead.com/movie/ph5c41b2f2ea4d9/x
https://porndead.com/movie/ph5c4780810bfaa/x
https://porndead.com/movie/ph5c4a47c510896/x
https://porndead.com/movie/ph5c4c88f61947a/x
https://porndead.com/movie/ph5c56155176089/x
https://porndead.com/movie/ph5c59cdfd4d21d/x
https://porndead.com/movie/ph5c5caee222f26/x
https://porndead.com/movie/ph5c6071b5aae02/x
https://porndead.com/movie/ph5c6606815da48/x
https://porndead.com/movie/ph5c6d4700ce3ba/x
https://porndead.com/movie/ph5c6d4700e8425/x
https://porndead.com/movie/ph5c70898b5459b/x
https://porndead.com/movie/ph5c79bbfbaba5d/x
https://porndead.com/movie/ph5c7af11c876b6/x
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https://porndead.com/movie/ph5ca09310999b2/x
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https://porndead.com/movie/ph5ccc81b182089/x
https://porndead.com/movie/ph5ce55a0cdc738/x
https://porndead.com/movie/ph5d17d453b79d3/x
https://porndead.com/movie/ph5d27a01224ac5/x
https://porndead.com/movie/ph5d44b9c3e6582/x
https://porndead.com/movie/ph5d461e1ea9b6c/x
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https://porndead.com/movie/ph5d4869aa3e87e/x
https://porndead.com/movie/ph5d4b3f0916609/x
https://porndead.com/movie/ph5d6edb3c46004/x
https://porndead.com/movie/ph5d76a3689864b/x
https://porndead.com/movie/ph5d86923ed93e1/x
https://porndead.com/movie/ph5d955ac3d8cd5/x
https://porndead.com/movie/ph5d9675e4798a0/x
https://porndead.com/movie/ph5db4bef58b179/x
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https://porndead.com/movie/ph5dcf2ca4c7b0a/x
https://porndead.com/movie/ph5de19913a16ae/x
https://porndead.com/movie/ph5de466421972b/x
https://porndead.com/movie/ph5df2b7e7c4e37/x
https://porndead.com/movie/ph5df2b7e7f1976/x
https://porndead.com/movie/ph5e096d4b5bd7c/x
https://porndead.com/movie/ph5e12534b5874a/x
https://porndead.com/movie/ph5e14a3372c43f/x
https://porndead.com/movie/ph5e189866c5bf4/x
https://porndead.com/movie/ph5e26cde5c1c49/x
https://porndead.com/movie/ph5e31fa4697a12/x
https://porndead.com/movie/ph5e31fa46ce83a/x
https://porndead.com/movie/ph5e3afab4b1c0c/x
https://porndead.com/movie/ph5e3d760f5f45f/x
https://porndead.com/movie/ph5e44013713ef4/x
https://porndead.com/movie/ph5e4558f1ad649/x
https://porndead.com/movie/ph5e4d2e1d6063b/x
https://porndead.com/movie/ph5e5d0eae74649/x
https://porndead.com/movie/ph5e5fb030ef311/x
https://porndead.com/movie/ph5e6060f68cb9d/x
https://porndead.com/movie/ph5e60f94f8588c/x
https://porndead.com/movie/ph5e639c4b6c00f/x
https://porndead.com/movie/ph5e73ea6c32618/x
https://porndead.com/movie/ph5e74bcca1bc68/x
https://porndead.com/movie/ph5e7c9d3ae1ce3/x
https://porndead.com/movie/ph5e8119d605dfe/x
https://porndead.com/movie/ph5e846b2d8e27e/x
https://porndead.com/movie/ph5e84710a73cb7/x
https://porndead.com/movie/ph5e8826b3609d7/x
https://porndead.com/movie/ph5e8dba66b8fde/x
https://porndead.com/movie/ph5e9a2ba7e0f2a/x
https://porndead.com/movie/ph5e9a2ec908128/x
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https://porndead.com/movie/ph5ea18506cda57/x
https://porndead.com/movie/ph5ea1b5804b08f/x
https://porndead.com/movie/ph5ea21b1233ef4/x
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https://porndead.com/movie/ph5ea2b9965d785/x
https://porndead.com/movie/ph5ea87e73c3414/x
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https://porndead.com/movie/ph5eac0f423b413/x
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https://porndead.com/movie/ph5eafdb03b1745/x
https://porndead.com/movie/ph5eb29a0112e22/x
https://porndead.com/movie/ph5eb53d6c854d1/x
https://porndead.com/movie/ph5eb5f7c9d0b0e/x
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https://porndead.com/movie/ph5ebfaf4c59934/x
https://porndead.com/movie/ph5ec04ff9e0790/x
https://porndead.com/movie/ph5ec1dbb428c1d/x
https://porndead.com/movie/ph5ec1e2314f118/x
https://porndead.com/movie/ph5ec3eca44bea6/x
https://porndead.com/movie/ph5ec3fbc9b12b8/x
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https://porndead.com/movie/ph5ec6e0d762127/x
https://porndead.com/movie/ph5ec719a77635e/x
https://porndead.com/movie/ph5ec71de2d7afd/x
https://porndead.com/movie/ph5ec7b8bee648b/x
https://porndead.com/movie/ph5eca03fa55a4e/x
https://porndead.com/movie/ph5eca05958bc7e/x
https://porndead.com/movie/ph5eca80d0cf298/x
https://porndead.com/movie/ph5ecbb9dc5ea8b/x
https://porndead.com/movie/ph5ecbe7170d3eb/x
https://porndead.com/movie/ph5ecbe717548e7/x
https://porndead.com/movie/ph5ecd48b704d4a/x
https://porndead.com/movie/ph5ecd6eef5c57c/x
https://porndead.com/movie/ph5ece41e8da1fb/x
https://porndead.com/movie/ph5ecec4d824406/x
https://porndead.com/movie/ph5eced4be8034c/x
https://porndead.com/movie/ph5ecfadee5b91c/x
https://porndead.com/movie/ph5ed043d13c58c/x
https://porndead.com/movie/ph5ed0e41ccbcec/x
https://porndead.com/movie/ph5ed1b1d154594/x
https://porndead.com/movie/ph5ed1b33d00828/x
https://porndead.com/movie/ph5ed2343cc85b6/x
https://porndead.com/movie/ph5ed2d6b773d98/x
https://porndead.com/movie/ph5ed334a221cec/x
https://porndead.com/movie/ph5ed33838e6ccf/x
https://porndead.com/movie/ph5ed3399743075/x



Jason Tucker
SKYPE:
Twitter:

                                               5
                          Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 10 of 16
The email you have received from this company and individual and any file attachments(s) are confidential and intended solely for use by the identified recipient(s). If
you received this message in error, please notify the sender and delete the message and any copies completely from your computer. Distribution or copying of this
communication, in whole or in part, by any unauthorized recipient is prohibited and may subject you to liability. All rights reserved.




                                                                                   6
                  Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 11 of 16


Jason Tucker

From:                           Jason Tucker
Sent:                           Monday, July 13, 2020 12:52 PM
To:                             abuse@cloudflare.com
Subject:                        DMCA Takedown Notice for Copyright Infringement – MG/RK – 200 Links



via Email:

RE: DMCA Takedown Notice for Copyright Infringement – MG/RK – 200 Links

Dear Copyright Agent,

I, Jason Tucker, hereby declare under penalty of perjury under the laws of the United States of America that to
the best of my knowledge and belief the following is true and correct and I have the authority to act on behalf of
the owner of the copyrights involved.

I have a good faith belief that the use of materials identified below is not authorized by the Owner and therefore
infringes on its rights pursuant to Copyright Law. Pursuant to this notification, you should immediately take
steps to locate and remove and/or disable access to the content that is on your system.

If you are a service provider, you may otherwise be liable for copyright infringement if, upon obtaining
knowledge or awareness of infringing material being stored upon your network, you do not act expeditiously to
remove, or disable access to, the material.

My contact information is as follows:
MG Premium Ltd.
c/o: Battleship Stance, Inc. - Jason Tucker
Address:
Email:

Location of original works owned by and registered to MG Premium Ltd: http://www.realitykings.com

This correspondence and all of its contents is without prejudice to MG Premium Ltd. or any of their affiliated
company's rights and remedies, all of which are expressly reserved.

Sincerely,

s/Jason Tucker

Jason Tucker
Agent for MG Premium Ltd.; MG Limited Cyprus; MG Content DP Ltd; MG Content RK Limited; MG
Freesites Ltd


Links to Infringing Material that we request be REMOVED:
https://porndead.com/movie/1006539276/x
https://porndead.com/movie/1059071406/x
https://porndead.com/movie/116495537/x
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                Case 3:20-mc-05023 Document 1-1 Filed 07/14/20 Page 12 of 16
https://porndead.com/movie/1167961647/x
https://porndead.com/movie/1183170957/x
https://porndead.com/movie/1254531773/x
https://porndead.com/movie/1256576553/x
https://porndead.com/movie/1287543195/x
https://porndead.com/movie/129336491/x
https://porndead.com/movie/1311438623/x
https://porndead.com/movie/1323534199/x
https://porndead.com/movie/1337775515/x
https://porndead.com/movie/1362114311/x
https://porndead.com/movie/1385785802/x
https://porndead.com/movie/1399679679/x
https://porndead.com/movie/1454827227/x
https://porndead.com/movie/1467851550/x
https://porndead.com/movie/1477570540/x
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https://porndead.com/movie/1802866923/x
https://porndead.com/movie/1808831215/x
https://porndead.com/movie/1812246861/x
https://porndead.com/movie/1833518829/x
https://porndead.com/movie/1883076770/x
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https://porndead.com/movie/1903328582/x
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https://porndead.com/movie/1937574022/x
https://porndead.com/movie/2038256507/x
https://porndead.com/movie/2096390929/x
https://porndead.com/movie/2107619610/x
https://porndead.com/movie/215687488/x
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https://porndead.com/movie/314945958/x
https://porndead.com/movie/316014228/x
https://porndead.com/movie/331475157/x
https://porndead.com/movie/358533985/x
https://porndead.com/movie/398238299/x
https://porndead.com/movie/400208214/x
https://porndead.com/movie/427308088/x
https://porndead.com/movie/473271035/x
https://porndead.com/movie/499803785/x
https://porndead.com/movie/504371242/x
https://porndead.com/movie/530041301/x
https://porndead.com/movie/546824372/x
https://porndead.com/movie/581821469/x
https://porndead.com/movie/593749924/x
https://porndead.com/movie/597230452/x
https://porndead.com/movie/701527304/x
https://porndead.com/movie/796671608/x
https://porndead.com/movie/798662154/x
https://porndead.com/movie/819294243/x
https://porndead.com/movie/871105294/x
https://porndead.com/movie/885802218/x
https://porndead.com/movie/911204975/x
https://porndead.com/movie/914783022/x
https://porndead.com/movie/918321454/x
https://porndead.com/movie/940941258/x
https://porndead.com/movie/949918778/x
https://porndead.com/movie/955467077/x
https://porndead.com/movie/97073031/x
https://porndead.com/movie/ph555f76ede7528/x
https://porndead.com/movie/ph556dfb9f231d6/x
https://porndead.com/movie/ph55882fc0ed706/x
https://porndead.com/movie/ph55dcc51c4cf55/x
https://porndead.com/movie/ph561824d160e0a/x
https://porndead.com/movie/ph56327a82996c9/x
https://porndead.com/movie/ph564f7d7980704/x
https://porndead.com/movie/ph564f7dedeb1d8/x
https://porndead.com/movie/ph56af9e8071eb1/x
https://porndead.com/movie/ph56f16daf0a849/x
https://porndead.com/movie/ph56feca4b152f4/x
https://porndead.com/movie/ph56ff78c51f185/x
https://porndead.com/movie/ph57028db5a92c9/x
https://porndead.com/movie/ph57028dda600d3/x
https://porndead.com/movie/ph57028df4ad018/x
https://porndead.com/movie/ph57041a0e51f9d/x
https://porndead.com/movie/ph573b7f44c7c35/x
https://porndead.com/movie/ph576975add7870/x
https://porndead.com/movie/ph576bf39a54a54/x
https://porndead.com/movie/ph576bf3b5321a2/x
https://porndead.com/movie/ph57c496a3cfd8d/x
https://porndead.com/movie/ph57ed344e755b1/x
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https://porndead.com/movie/ph580935f29c7d6/x
https://porndead.com/movie/ph58499f779198b/x
https://porndead.com/movie/ph58499fd22bd47/x
https://porndead.com/movie/ph58e7a6924ab7e/x
https://porndead.com/movie/ph58efd8ec497c9/x
https://porndead.com/movie/ph591388376b121/x
https://porndead.com/movie/ph596faf0e8ed03/x
https://porndead.com/movie/ph5a05f1807cf97/x
https://porndead.com/movie/ph5a15bd36044ab/x
https://porndead.com/movie/ph5a29665075010/x
https://porndead.com/movie/ph5a7a04f3307c3/x
https://porndead.com/movie/ph5a95834e969c7/x
https://porndead.com/movie/ph5aa935a4c9c33/x
https://porndead.com/movie/ph5ab52b7830556/x
https://porndead.com/movie/ph5ac265075dbe7/x
https://porndead.com/movie/ph5b1166c72ff88/x
https://porndead.com/movie/ph5b5f6c272857b/x
https://porndead.com/movie/ph5b73460b3500e/x
https://porndead.com/movie/ph5b75c3653f0e2/x
https://porndead.com/movie/ph5b7eef8d8d5df/x
https://porndead.com/movie/ph5bb4dce2e7d8c/x
https://porndead.com/movie/ph5bd4d78f1793b/x
https://porndead.com/movie/ph5be0ca7d17dcf/x
https://porndead.com/movie/ph5be4ae199fb87/x
https://porndead.com/movie/ph5bede6f63c0b5/x
https://porndead.com/movie/ph5bede7bf1e45d/x
https://porndead.com/movie/ph5bf0a1888d791/x
https://porndead.com/movie/ph5bf1feb22bb2e/x
https://porndead.com/movie/ph5bfadeaded7a9/x
https://porndead.com/movie/ph5c3a14f19ebf3/x
https://porndead.com/movie/ph5c51057d8e115/x
https://porndead.com/movie/ph5c5b535cf22d9/x
https://porndead.com/movie/ph5c688d8d0c758/x
https://porndead.com/movie/ph5ca7d66e06554/x
https://porndead.com/movie/ph5ca7d66e2d7ae/x
https://porndead.com/movie/ph5cb79e06eab12/x
https://porndead.com/movie/ph5cd37810c9344/x
https://porndead.com/movie/ph5cd5cafdc2c6f/x
https://porndead.com/movie/ph5cdde9f2c7261/x
https://porndead.com/movie/ph5d0409bf519bf/x
https://porndead.com/movie/ph5d2fa2d6422ab/x
https://porndead.com/movie/ph5d54858d908d7/x
https://porndead.com/movie/ph5d5dcb6aaa1e7/x
https://porndead.com/movie/ph5d61c10a7d14c/x
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https://porndead.com/movie/ph5d9678af0b69a/x
https://porndead.com/movie/ph5dac36c5bef5e/x
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https://porndead.com/movie/ph5e4c62c400e3c/x
https://porndead.com/movie/ph5e62486e647cb/x
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https://porndead.com/movie/ph5e8f022e7dd15/x
https://porndead.com/movie/ph5e970e6014bdb/x
https://porndead.com/movie/ph5e987005c796f/x
https://porndead.com/movie/ph5e9afb0494636/x
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https://porndead.com/movie/ph5ea2c75cc1275/x
https://porndead.com/movie/ph5ea41c74dcdd2/x
https://porndead.com/movie/ph5ea81d66be624/x
https://porndead.com/movie/ph5ea9567b01064/x
https://porndead.com/movie/ph5eaad9a24aaf6/x
https://porndead.com/movie/ph5eadddd9e5ce5/x
https://porndead.com/movie/ph5eb17b4c7f859/x
https://porndead.com/movie/ph5eb29b7ace6f6/x
https://porndead.com/movie/ph5eb389c49fdd9/x
https://porndead.com/movie/ph5eb416a8f1ba6/x
https://porndead.com/movie/ph5eb541cda166a/x
https://porndead.com/movie/ph5eb55865ef6c7/x
https://porndead.com/movie/ph5eb7e2ad57232/x
https://porndead.com/movie/ph5eb98934362d2/x
https://porndead.com/movie/ph5eb989346451d/x
https://porndead.com/movie/ph5ebbd3bcba708/x
https://porndead.com/movie/ph5ebd200194d71/x
https://porndead.com/movie/ph5ebe7cad35587/x
https://porndead.com/movie/ph5ec055c5a3620/x
https://porndead.com/movie/ph5ec3f0458cabf/x
https://porndead.com/movie/ph5ec3f045bd608/x
https://porndead.com/movie/ph5ec44dec33a05/x
https://porndead.com/movie/ph5ec7bded010f7/x
https://porndead.com/movie/ph5ec936a1bc4ca/x
https://porndead.com/movie/ph5ecbf2134ab98/x
https://porndead.com/movie/ph5ecd4cfabbf4d/x
https://porndead.com/movie/ph5ece4a757d432/x
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